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                        UNITED STATES DISTRICT COURT
                           DISTRICT OF MINNESOTA




 Mario Ferbo Mancini                              Case No. 20-cv-2532 (ECT/DTS)

                              Plaintiff,
 v.
                                                  PROPOSED THIRD AMENDED
 Federal Bureau of Prisons, et al.,               SCHEDULING ORDER
                              Defendant.




       Pursuant to the Stipulation and Agreement between the parties, IT IS HEREBY

ORDERED that the Second Amended Pretrial Scheduling Order is further amended as

follows:


                                           Previous Deadline       New Deadline


 Written Discovery                         November 28, 2022        February 27, 2023


 Written Expert Disclosures                December 16, 2022          March 16, 2023


 Fact and Expert Discovery                    January 27, 2023         April 27, 2023


 Non-Dispositive Motions                     February 24, 2023      February 24, 2023


 Dispositive Motions                           March 24, 2023         March 24, 2023
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Trial Ready Date                        June 24, 2023         June 24, 2023




Dated: ________________________               ________________________
                                              DAVID T. SCHULTZ
                                              U.S. Magistrate Judge




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